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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA          :          Hon.   Stanley R.   Chesler

                                             Criminal Number:     07—625   (SaC)

CIGWASK                           :          ORDER



     This matter having come before the Court on the joint

application of Ralph J. Marra,        Jr.,   Acting United States Attorney

for the District of New Jersey        (by Anthony Moscato,        Assistant U.S.

Attorney),    and defendant Craig Wask        (by his attorney James P.

Patuto,   Esq.)   for an Order requiring defendant Craig Wask

to pay restitution in the amount of $217,728 to the victims of

defendant Craig Wask’s offense,        namely,      the International Union of

Operating Engineers Benefit Funds        (hereinafter collectively the

“Funds”),    in the amounts listed below;

      Victim                             Amount

      Local 825 Welfare Fund             $36,400
      Local 825 Pension                  $46,080
      Local 825 Annuity Fund             $54,720
      Local 825 SUB Fund                 $13,248

      Local 825 Savings Fund             $11,520

      Local 825 Apprentice Fund          $5,760


and as defendant Craig Wask has consented to such Order,               and for

good and sufficient cause shown,

     IT IS THE FINDING OF THIS COURT that defendant Craig Wask

shall be required to restitution,       as described above,         based on

following:
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          (1)     On or about March 26,      2008,    defendant Craig Wask pleaded

 guilty to a Superseding information,                charging him with seven counts

 of conspiracy to violate federal law,                namely,   Title 29,    united

 States Code,        Section 186,    in violation of Title 18,           United States

 Code,     Section 371.       During his Rule 11 hearing, defendant Craig

 Wask,     a Local 825 business agent,            admitted that he received cash

bribes         from George V.    Coyne,   a contractor,       in exchange for

permitting George V.            Coyne’s company to use non-union labor at a

 construction project in Jersey City,                New Jersey      (Count Three)   .   He

 further admitted that he shared portions of those cash bribes with

Kenneth P.        Campbell,     the union’s Business Manager.

         (2)     By paying cash bribes to defendant Craig Wask,               George V.

Coyne was able to employ non—union operating engineers at this

construction project,           thereby permitting George V.           Coyne to avoid

paying contributions to the Funds,                as required under the applicable

Collective Bargaining Agreement.                  In total,   through their criminal

conduct,        defendant Craig Wask, George V. Coyne, and Kenneth P.

Campbell caused the Funds to suffer a loss of approximately

$217, 728.

         (3)     On or about September 29,         2008,   George V.    Coyne pleaded

guilty before this Court to substantially the same criminal conduct

as defendant Craig Wask and,              as part of his sentence,        was ordered

to pay restitution in the amount of $217,728 to the victims

described above.

         (4)     On or about October 7,      2008,    Kenneth P.     Campbell pleaded

guilty before this Court to substantially the same criminal conduct

and,   as part of his sentence,           was ordered to pay restitution in the

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amount of $247,655,      which amount included $217,728 to the victims

described above.

         (5)   On or about April 7,    2009,   the Court sentenced defendant

Craig Wask to four months’         imprisonment; four months’       in a halfway

house;     a $7,000 fine; and three years’       supervised release.

The judgement of conviction was signed by the Court on or about

April 7, 2009.

     (6)       Defendant Craig Wask’s plea agreement, which agreement he

signed on March 5, 2008,         advised him that the sentencing judge

could order him to pay restitution under 18 U.S.C.              § 3663 g.

     WHEREFORE,      IT IS on this    4) day of July, 2009,
     ORDERED that defendant Craig Wask, as part of the sentence

imposed on April 7,      2009,    make $217,728 in restitution to the Funds

in the specific amounts and to the specific victims described

above;

     IT IS FURTHER ORDERED that defendant Craig Wask’s restitution

obligation in the amount of $217,728 will be joint and several with

George V. Coyne and Kenneth P.         Campbell;

     IT IS FURTHER ORDERED that defendant Craig Wask will forward

these monthly payments to the IUOE Local 825 Benefit Funds,                65
Springfield Avenue,     Second Floor,     Springfield, New Jersey 07801;

     IT IS FURTHER ORDERED that the Court will waive the interest

requirement in this case.

     IT IS FURTHER ORDERED that restitution is due immediately, and

in the event the entire restitution is not paid before the

commencement of supervision, payment will commence 30 days after

release from imprisonment; and the Court will set the payment plan

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